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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                            )
                                                    )
        Plaintiff,                                  )
                                                    )       21-CR-40052-JPG
vs.                                                 )
                                                    )
JONATHAN ALEXANDER L. LOGEMAN,                      )
                                                    )
        Defendant.                                  )

                                      NOTICE OF APPEAL

        Notice is hereby given that Jonathan Alexander L. Logeman appeals to the United States

Court of Appeals for the Seventh Circuit, the August 24, 2023, final judgment and sentence of the

United States District Court, Southern District of Illinois. (Doc. 322).


                                                            Respectfully submitted,

                                                            /s/ Luke A. Baumstark
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                                                            Attorney for Defendant
                                                            Jonathan Alexander L. Logeman



                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on the 1st day of September, 2023, this document was filed
with the court via the CM/ECF system which will send notice to all parties of record.

                                                        ____/s/ Luke A. Baumstark
